

Board of Mgrs. of Carriage House Condominium v Healy (2021 NY Slip Op 00249)





Board of Mgrs. of Carriage House Condominium v Healy


2021 NY Slip Op 00249


Decided on January 19, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 19, 2021

Before: Webber, J.P., Mazzarelli, González, Scarpulla, Shulman, JJ. 


Index No. 150491/19 Appeal No. 12903N&amp;M-2441 M-3245 Case No. 2020-02423 

[*1]Board of Managers of Carriage House Condominium, Plaintiff-Respondent,
vValeria Calafiore Healy et al., Defendants-Appellants.


Healy LLC, New York (Valeria Calafiore Healy of counsel), for Valeria Calafiore Healy and for John A. Healy, appellants.
Ropers Majeski, P.C., New York (Eric C. Weissman and Matthew A. Beyer of counsel), for respondent.



Order, Supreme Court, New York County (James Edward d'Auguste, J.), entered May 11, 2020, which, to the extent appealed from as limited by the briefs, granted plaintiff's motion for a preliminary injunction, unanimously affirmed, without costs. Plaintiff is directed to post a bond in the amount of $1000.
Plaintiff commenced this action allegedly to enforce its right to access defendants' unit in plaintiff's condominium to make repairs to AC condensers located in defendants' unit that service other units in the condominium. Supreme Court granted plaintiff's motion and ordered that, upon one day's notice, defendants allow HVAC workers performing repairs or services into their unit to perform necessary HVAC maintenance and repairs, and that any such HVAC workers be accompanied by an individual associated with the managing agent for the condominium.
We review Supreme Court's disposition of a motion for a preliminary injunction and find there was no abuse of discretion (see J.A. Preston Corp. v Fabrication Enters. , 68 NY2d 397, 406 [1986]; Adirondack Park Agency v Hunt Bros. Contrs. , 234 AD2d 737, 738 [3d Dept 1996]; Rosemont Enters. v Irving , 49 AD2d 445, 448 [1st Dept 1975], appeal dismissed  41 NY2d 829 [1977]).
The parties' remaining arguments are either academic in view of the foregoing, or unavailing.Bd. of Mgrs. of Carriage House Condominium v Healy 	M-2441	Motion to enlarge the record and to take judicial notice denied as unnecessary.	M-3245	Motion for sanctions denied.
	THIS CONSTITUTES THE DECISION AND ORDER

OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 19, 2021








